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                     UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION

      CHAMBER OF COMMERCE OF THE
      UNITED STATES OF AMERICA, ET AL.,

           Plaintiffs,

      v.                                                   No. 4:24-cv-00213-P

      CONSUMER FINANCIAL PROTECTION
      BUREAU, ET AL.,

           Defendants.

                         ORDER & FINAL JUDGMENT
         Before the Court is the Parties’ Joint Motion for Entry of Consent
      Judgment. ECF No. 149. Having considered the Motion, relevant docket
      entries, and applicable law, the Court GRANTS the Motion.

        Accordingly, the Court hereby VACATES the rule entitled, Credit
      Card Penalty Fees (Regulation Z), 89 Fed. Reg. 19128 (Mar. 15, 2024),
      for failure to allow card issuers to “charge penalty fees reasonable and
      proportional to violations,” in violation of the Credit Card Accountability
      and Disclosure Act, 15 U.S.C. § 1665d(a), and the Administrative
      Procedure Act, 5 U.S.C. § 706(2), as alleged in Count II of the Complaint.
      See ECF No. 1.

        All other claims in the Complaint, including those contained in
      Counts I, III, IV, and V, are DISMISSED with prejudice. This final
      judgment is issued pursuant to Federal Rule of Civil Procedure 58(a).
      The Clerk of the Court shall transmit a true copy of this judgment to the
      Parties.

           SO ORDERED on this 15th day of April 2025.




                                 MARK T. PITTMAN
                                 UNITED STATES DISTRICT JUDGE
